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                                       Court-Appointed            Page for
                                                       Temporary Receiver 1 of
                                                                            Link2Motion Inc.
                                                           Pursuant to The Honorable Judge Victor Marrero of the
                                                           United States District Court, Southern District of New York




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VIA ECF

Hon. Debra C. Freeman
United States Courthouse
Southern District of New York
500 Pearl Street, Suite 1040
New York, New York 10007

February 8, 2022

        Re:      Baliga v. Link Motion Inc. et al., 1:18-cv-11642 (S.D.N.Y.) (VM) (DCF)

Dear Magistrate Judge Freeman:

       Pursuant to Judge Marrero’s February 1, 2019 Order (ECF 26) (“Order”), I write to
submit an additional status report concerning a matter that recently came to my attention.

        On February 4, 2022, I obtained a copy of a Hong Kong International Arbitration
Centre award (the “Award”) dated March 19, 2020 relating to an arbitration (the “Tongfang
Arbitration”) filed in April 2019 by Tongfang Investment Fund Series SPC (“Tongfang”)
against Link Motion Inc. and one of its subsidiaries (together, the “Company”).1 In the
Award, Tongfang was awarded damages of 2.52 billion RMB (approximately $400
million) against the Company, plus 608,000 HK dollars in fees and costs. Prior to February
4, 2022, I had no knowledge of the Tongfang Arbitration or the Award.

        As the Award itself reflects, Defendant Shi secretly arrogated to himself the
authority to speak for the Company in the Tongfang Arbitration, and surrendered the legal
interests of the Company by declining to defend against Tongfang’s claims. Specifically,
as the Award states:

                 “The Respondents have not been legally represented in this
                 arbitration. Instead, by email dated 5 May 2019 Mr. Shi
                 confirmed to HKIAC that he was acting on behalf of the
                 Respondents. The Respondents (through Mr. Shi) have

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  A copy of the Award is attached as Exhibit A to this letter. The Receiver obtained the Award from Gibson
Dunn & Crutcher LLP, which is representing DLA Piper LLP (US) in connection with China AI Capital
Limited’s (“China AI”) Shareholder Derivative Complaint in this Court against DLA Piper LLP (US). See
China AI Capital Limited v. DLA Piper LLP (US), 1:21-cv-10911 (ECF 1). China AI’s complaint alleges
that an arbitration was filed by Tongfang against the Company (ECF 1, ¶¶ 87-89). However, as noted above,
I had no prior knowledge of any such arbitration and was unable to confirm that such an arbitration existed
until I received a copy of the Award.

                                                    1
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                 therefore been aware of these proceedings. But Respondents
                 have opted not to submit any document in this reference . .
                 . The Respondents did not file any Statement of Defence.”

                 “[o]n 11 December 2019 Mr. Shi emailed that the
                 Respondents would not be filing any closing submissions.”

Award at ¶¶ 9-12. (emphasis added).

         Significantly, Defendant Shi failed to notify the Receiver of the existence of this
arbitration, notwithstanding the fact that it was filed several months after this Court
appointed me as temporary Receiver in February 2019. Further, Shi’s failure to defend the
Tongfang Arbitration — exposing the Company to a $400 million damage award — is part
of a pattern of egregious misconduct in which he has looted the Company, sabotaged its
operations, and breached his fiduciary duties, as has been well documented in the record
of this action2 and the arbitration involving Zhongzhi.3 Further, there is no indication in
the Award that Shi disclosed the fact that this Court had appointed a receiver over the
Company with the power to control any legal action or arbitration to which the Company
is a party.4

       Please do not hesitate to contact me if Your Honor wishes to discuss the foregoing
in more detail.


Respectfully submitted,



Robert W. Seiden, Esq.
Court-Appointed Temporary Receiver for
Link Motion Inc.




2
  See, e.g.. Receiver’s Response to Defendanrt Vincent Wenyong Shi’s Motion to Dissolve the Preliminary
Injunction and Discharge the Receiver (ECF 239), at 6-13.
3
  See ECF 201-1.
4
  See Receivership Order (ECF 26), at II(e).

                                                   2
